             Case 3:21-cv-00259-DCG-JES-JVB          Document 962-15     Filed 05/07/25    Page 1 of 2




                                                      Exhibit 15
                       Designations of Deposition Testimony of Todd Hunter (October 11, 2022)


             Plaintiffs’ Affirmative Designations                         Defendants’ Counter Designations
Start Page/Line         End Page/Line           Defendants’     Start Page/Line   End Page/Line         Plaintiffs’
                                                Objections                                             Objections
        9:17                   9:25
        10:6                  10:14
       10:23                   11:4
       11:18                  11:19
       12:12                   13:1
        14:3                  14:20
        18:6                  18:17
        20:5                  21:11
       21:22                   22:7
       24:18                  25:12
        27:1                  27:11
        28:6                  28:18
       33:12                   35:2
       38:16                  39:23
        42:1                  42:22
        46:1                  46:16
        47:6                  47:19
       48:12                  48:22
        60:9                   61:9
       61:18                  62:20
        64:6                  64:25
       65:17                  65:23
       66:14                   67:6
       68:22                   69:1
        73:1                  73:15
       74:19                  74:24

                                                          1
             Case 3:21-cv-00259-DCG-JES-JVB           Document 962-15   Filed 05/07/25    Page 2 of 2




              Plaintiffs’ Affirmative Designations                        Defendants’ Counter Designations
Start Page/Line          End Page/Line           Defendants’    Start Page/Line   End Page/Line         Plaintiffs’
                                                 Objections                                            Objections
         76:3                   76:16
        88:10                    90:6
        92:15                    93:5
        95:17                   95:25
         96:7                   96:16
         98:6                    99:6
        99:23                   100:8
      103:16                    104:8
      104:22                    105:5
      106:12                    107:2
        111:7                  111:14
        114:5                  114:20
       115:11                  115:21
       116:19                   117:3
       117:16                  117:22
        119:6                  119:21
      121:22                   122:11
      124:10                    125:2
        125:6                  125:13
      126:25                    129:3
        155:2                  155:22
        158:1                  158:19
      172:19                   173:21
        176:3                  176:11




                                                           2
